                                      nitfd tatts matt
                                         WASHINGTON, DC 20510


                                                  June 7, 2022


VIA ELECTRONIC TRANSMISSION

The Honorable Alejandro N. Mayorkas
Secretary
U.S. Department of Homeland Security


Dear Secretary Mayorkas:

        Department of Homeland Security (DHS) information obtained by our offices through
protected whistleblower disclosures raises serious concerns about DHS’s recently-paused
Disinformation Governance Board (DGB) and the role the DGB was designed to play in DHS
counter disinformation efforts. Documents show that, contrary to your May 4, 2022, testimony
before the Senate Committee on Homeland Security and Governmental Affairs, the DGB was
established to serve as much more than a simple “working group” to “develop guidelines,
standards, [and] guardrails” for protecting civil rights and civil liberties.1 In fact, DHS
documents show that the DGB was designed to be the Department’s central hub, clearinghouse
and gatekeeper for Administration policy and response to whatever it happened to decide was
“disinformation.”

        Specifically, documents describe a prominent DGB designed to “serve as the
departmental forum for governance of DHS policies, plans, procedures, standards, and activities”
pertaining to what the government refers to as “mis-, dis-, and mal- information,” or “MDM,”
“that threatens homeland security” as well as the Department’s internal and external point of
contact for coordination with state and local partners, non-governmental actors, and the private
sector.2 Internal DHS memoranda also show that in practice, the DGB was expected to function
as a “coordination and deconfliction mechanism… conven[ing] to discuss threats, assessments,
response actions, and engagements as often as warranted.”3 According to the DGB’s charter,

1
  Resources and Authorities Needed to Protect and Secure the Homeland: Hearing before the Senate Committee on
Homeland Security and Governmental Affairs, 117th Congress (May 4, 2022).
2
  DHS Disinformation Governance Board Charter (February 24, 2022); The Cybersecurity & Infrastructure Security
Agency (CISA), one of nine DHS components with representation on the DGB, defines misinformation as “false,
but not created or shared with the intention of causing harm.” CISA defines disinformation as “deliberately created
to mislead, harm, or manipulate a person, social group, organization, or country,” and it defines malinformation as
“based on fact, but used out of context to mislead, harm, or manipulate.” Cybersecurity & Infrastructure Agency,
“MIS, DIS, MALINFORMATION”, available at https://www.cisa.gov/mdm.
3
  “Ukraine MDM Playbook Version 12, as of 2/14/2022” at 2. See also DHS Disinformation Governance Board
Charter (February 24, 2022).
                                                                                           Secretary Mayorkas
                                                                                                  June 7, 2022
                                                                                                   Page 2 of 5

“DHS-wide or Component specific proposals for funding related to efforts to counter MDM”
were also required to be “appropriately coordinated with the Board, including in advance of
submitting any final funding proposals.”4

        While DHS components apparently have established methods for defining and analyzing
disinformation, and would continue to carry out all of their normal operational functions under a
DGB, it appears that the DGB was equipped to review evidence presented by representatives of
the various components and guide DHS counter disinformation efforts.5 A September 13, 2021,
memo prepared in part by Robert Silvers, Under Secretary for Strategy, Policy, and Plans and,
according to whistleblower allegations, one of two intended co-chairs of the DGB, outlined
specific policy recommendations that should guide DHS efforts to counter disinformation.6 The
memo states that DHS’s “role in responding to disinformation should be limited to areas where
there are clear, objective facts.”7 It is unclear how DHS defines “clear, objective facts,” and it is
unclear what safeguards, if any, DHS has put in place to ensure that individuals charged with
determining which issue areas have “clear” and “objective facts” are not influenced by their own
ideological and political beliefs. While the memo boldly asserts that the Department’s “counter-
disinformation mission, including the choices as to what issue areas to focus on, must not be
politicized and must be protected from perceptions of politicization,” some of the examples of
disinformation given in the memo relate not only to foreign disinformation but issues that have
been at the heart of domestic political discourse for the past several years.8 For instance, the
memo refers to “[c]onspiracy theories about the validity and security of elections” and
“[d]isinformation related to the origins and effects of COVID-19 vaccines or the efficacy of
masks.”9

        Given the significant coordinating role the Department envisioned for the DGB, the
consequences of installing Nina Jankowicz, a known trafficker of foreign disinformation and
liberal conspiracy theories, as the DGB’s first Executive Director, would have been a disaster.
Jankowicz once asserted that the Hunter Biden laptop should be viewed as a “Trump campaign
product.”10 Content on the Hunter Biden laptop has since been verified by multiple major news
outlets.11 In 2016, Jankowicz also sent out multiple tweets spreading the now-debunked claim

4
    “DHS Disinformation Governance Board Charter” (February 24, 2022) at 4.
5
    “DHS Disinformation Governance Board Charter” (February 24, 2022); See also “Ukraine MDM Playbook
Version 12, as of 2/14/2022” at 2, 18.
6
  “DHS Disinformation Governance Board Charter” (February 24, 2022); Memorandum from Robert Silvers, Under
Secretary, Office of Strategy, Policy, and Plans, and Samantha Vinograd, Senior Counselor for National Security,
Office of the Secretary, for the Secretary (September 13, 2021).
7
  Memorandum from Robert Silvers, Under Secretary, Office of Strategy, Policy, and Plans, and Samantha
Vinograd, Senior Counselor for National Security, Office of the Secretary, for the Secretary (September 13, 2021).
8
  Id.
9
  Id.
10
   Callie Patteson, “Ex-Disinformation Board chief Nina Jankowicz breaks silence, cites death threats” (May 19,
2022), available at https://nypost.com/2022/05/19/ex-disinformation-board-chief-nina-jankowicz-breaks-silence/ .
11
   Craig Timberg, Matt Viser, and Tom Hamburger, “Here’s how The Post analyzed Hunter Biden’s laptop,” The
Washington Post (March 30, 2022), available at https://www.washingtonpost.com/technology/2022/03/30/hunter-
                                                                                           Secretary Mayorkas
                                                                                                  June 7, 2022
                                                                                                   Page 3 of 5

that President Trump had a “secret server” to communicate with Kremlin-linked Alfa Bank.12 In
2020, Jankowicz tweeted that a podcast by Christopher Steele, the author of the debunked Steele
Dossier containing Russian disinformation, had provided “some great historical context about the
evolution of disinfo.”13 So this begs the question, if the (former) Executive Director of the DGB
is incapable of determining what is and is not disinformation, how could the DGB ever have
expected to function properly under her leadership? We believe that Congress and the American
people require full transparency regarding the DGB’s creation as well as the role Jankowicz
would have played had she remained in her position at DHS. Toward that end, we are releasing
documents we have collected during our investigation as an attachment to this letter.

        Documents also suggest that the Department has been working on plans to
“operationalize” its relationships with private social media companies to implement its public
policy goals.14 For example, we obtained draft briefing notes prepared for a scheduled April 28,
2022, meeting between Robert Silvers and Twitter executives Nick Pickles, Head of Policy, and
Yoel Roth, Head of Site Integrity. The notes are marked “TBC,” and it is unclear whether the
scheduled meeting actually took place. The briefing notes frame the planned meeting between
Silvers and the Twitter executives as “an opportunity to discuss operationalizing public-private
partnerships between DHS and Twitter, as well as [to] inform Twitter executives about DHS
work on MDM, including the creation of the Disinformation Governance Board and its analytic
exchange...”15 According to whistleblower allegations, Nina Jankowicz may have been hired
because of her relationship with executives at Twitter. Consistent with these allegations, Silvers’
briefing notes state that both Pickles and Roth know Jankowicz.16 A recent DHS strategy
document further discusses efforts to “[e]mpower partners to mitigate MDM threats.”17 The
document states that in certain cases, federal, state, local, tribal, and territorial or
nongovernmental partners “may be better positioned to mitigate MDM Threats based on their
capabilities and authorities.”18 DHS theorizes that “[b]y sharing information, DHS can empower
these partners to mitigate threats such as providing information to technology companies
enabling them to remove content at their discretion and consistent with their terms of service.”19

biden-laptop-data-examined/; Katie Benner, Kenneth P Vogel and Michael S. Schmidt, “Hunter Biden Paid Tax
Bill, but Broad Federal Investigation Continues,” The New York Times (March 16, 2022), available at
https://www.nytimes.com/2022/03/16/us/politics/hunter-biden-tax-bill-investigation html.
12
   Jankowicz, Nina [@wicsipedia]. “Trump had not one, but two secret email servers to communicate w/ influential
Russian bank. Unbelievable.” Twitter (November 1, 2016), available at
https://twitter.com/wiczipedia/status/793329082167619584; Jankowicz, Nina [@wicsipedia]. “Husband texted me
‘you have news to wake up to.’ Never thought it would be this. Confirms our worst fears about Trump. I am
horrified.” Twitter (November 1, 2016), https://twitter.com/wiczipedia/status/793322439505772544.
13
   Jankowicz, Nina [@wicsipedia]. “Listened to this last night- Chris Steele (yes THAT Chris Steele) provides some
great historical context about the evolution of disinfo. Worth a listen” Twitter (August 7, 2020), available at
https://twitter.com/wiczipedia/status/1291692143262814209.
14
   Draft Briefing Notes, Twitter (April 28, 2022).
15
   Id.
16
   Id.
17
   “Ukraine MDM Playbook Version 12, as of 2/14/2022” at 17.
18
   Id.
19
   Id.
                                                                                Secretary Mayorkas
                                                                                       June 7, 2022
                                                                                        Page 4 of 5


         Collectively, whistleblower allegations and the documents we’ve reviewed raise concerns
that DHS could be seeking an active role in coordinating the censorship of viewpoints that it
determines, according to an unknown standard, to be “MDM” by enlisting the help of social
media companies and big tech. The DGB’s charter also specifically states that the DGB should
“serv[e] as the Department’s internal and external point of contact for coordination with state,
local, tribal, and territorial partners, the private sector, and nongovernmental actors regarding
MDM.”20

        The First Amendment of the Constitution was designed precisely so that the government
could not censor opposing viewpoints – even if those viewpoints were false. DHS should not in
any way seek to enlist the private sector to curb or silence opposing viewpoints. It is therefore
imperative for DHS to provide additional clarity regarding its policies and procedures for
identifying and addressing “MDM,” as well as its efforts to “operationalize” public-private
partnerships and the steps it is taking to ensure that it does not infringe on the constitutional
rights of American citizens.

        In order for us to better understand the role of the DGB and DHS’s efforts to counter
disinformation, we ask that you respond to the following no later than June 21, 2022.

           1. Has DHS at any point in time asked or suggested to Twitter, Facebook, TikTok, or
              any other social media executives that they should censor, flag, add context to, or
              remove any social media posts that it believes to be disinformation?

           2. Has DHS at any point in time asked or suggested to Twitter, Facebook, TikTok, or
              any other social media executives that they suspend or ban the account(s) of
              individuals believed to be promoting information it believes to be disinformation?

           3. Please provide all documents, including all written and electronic communications,
              memoranda, and organizational documents, related to the DGB from the point that
              DHS first considered establishing a DGB until the present.

           4. Please provide all documents, including all written and electronic communications
              and memoranda, related to Nina Jankowicz’s selection as Executive Director of the
              DGB.

           5. Please explain why, in your public statements and testimony before Congress, you
              have not fully explained the key role that the DGB was designed to play in
              coordinating among DHS components and engaging the assistance of the private
              sector.

20
     “DHS Disinformation Governance Board Charter” (February 24, 2022) at 3.
                                                                              Secretary Mayorkas
                                                                                     June 7, 2022
                                                                                      Page 5 of 5


       6. Please explain how DHS defines “MDM” and how DHS decides whether a given
          news story or other piece of information fits its definition of “MDM.” Please identify
          who exactly is ultimately responsible for making this determination.

       7. Please explain the criteria DHS uses when deciding whether to spend taxpayer
          resources addressing a particular news item or narrative that it has classified as
          “MDM.”

       8. Please describe all safeguards that DHS has put in place to ensure that its efforts to
          counter the spread of disinformation do not infringe on Americans’ constitutional
          right to free speech.

       9. Did DHS Under Secretary for the Office of Strategy, Policy, and Plans Robert Silvers
          meet with Twitter executives on April 28, 2022? If so, please provide a summary of
          topics discussed during the meeting.

       10. Please define what DHS means by the phrase, “operationalizing public-private
           partnerships.”


Thank you for your prompt attention to this important matter.


                                            Sincerely,
                                                                                  ~
     J




       Charles E. Grassley                                                  Josh Hawley
       U.S. Senator                                                         U.S. Senator


Enclosures.
                        Release Authorized by Senator Grassley and Senator Hawley


                                  PRE-DECISIONAL/DELIBERATIVE
                             fflQetJ1t88tflft!e ,r Pett ePPtetM: tt8t! enL'r
                                                                                       U.S. Department of Homeland Security
                                                                                       Washington, DC 20528

                                                                                        Homeland
                                                                             ~~,~       Security
                                               September 13, 2021

                                                INFORMATION

MEMORANDUM FOR THE SECRETARY

FROM:                      Robert Silvers Isl
                           Under Secretary
                           Office of Strategy, Policy, and Plans

                           Samantha Vinograd Isl
                           Senior Counselor for National Security
                           Office of the Secretary

SUBJECT:                   Organizing DBS Efforts to Counter Disinformation


The spread of disinformation 1 presents serious homeland security risks:
   • Conspiracy theories about the validity and security of elections may undennine trust in core
        democratic institutions, amplify threats against election personnel, and jeopardize the voting
        rights of vulnerable communities.
   • Disinfonnation related to the origins and effects of COVID-19 vaccines or the efficacy of masks
        undercuts public health efforts to combat the pandemic.
   • Foreign terrorists, nation-states, and domestic violent extremist (DVE) groups leverage
        disinformation narratives to amplify calls to violence, including racially or ethnically motivated
        and anti-government/anti-authority violence. These actors often amplify and exploit narratives
        that already exist in public discourse, such as disinfonnation surrounding the validity of the 2020
        election underpinning calls to violence on January 6, 2021. ·
   • Disinfonnation can complicate the perfonnance of core DHS missions. Falsehoods surrounding
        U.S. Government immigration policy drive vulnerable populations to pay smugglers to bring
        them on the dangerous journey to our southern border. Disinformation can hamper emergency
        responders in the aftennath of natural disasters or other incident responses.

OHS efforts to combat disinfonnation must account for the sensitivities inherent to this mission:
  • The Department must ensure its counter-disinfonnation efforts do not have the effect of chilling
       or suppressing free speech and free association or of infringing on individuals' privacy or other
       First Amendment protected activity.
  • The protection of privacy, civil rights, and civil liberties must be incorporated into every step of
       this work and any overarching framework guiding its execution.

1 The tenn disinfonnation will be used to reference any of mis-, dis-, or mal-infonnation, or other tenns of art that
refer to false information that is intentionally or inadvertently iajected into the information environment.


                                   PRE-DECISIONAL/DELIBERATIVE
                             ~ i8JsA881Fll38       // FOil OPFI 81stlL W88 01 tis¥

                      Release Authorized by Senator Grassley and Senator Hawley
                    Release Authorized by Senator Grassley and Senator Hawley


                                 PRE-DECISJONAL/DELIBERA TJVE
                          l!9li8J5ABBIFll38 ;';'fOtt OFFt8fs\tJ eJBB OlHsY

Subject: Organizing DBS Efforts to Counter Disinformation
Page2


    •   The counter-disinfonnation mission, including the choices as to what issue areas to focus on,
        must not be politicized and must be protected from perceptions of politicization.
    •   OHS should not attempt to be an all-purpose arbiter of truth in the public arena. It should instead
        focus its efforts on disinformation impacting DHS core missions.
    •   DHS's role in responding to disinfonnation should be limited to areas where there are clear,
        objective facts (i.e., medical evidence regarding COVID; factual information about elections
        administration and security, DVE narratives) and where OHS has particular expertise and a strong
        oversight structure to ensure legal and policy review of any response efforts.
    •   DHS has a unique role to play in infonnation sharing across the government, with SLTT entities,
        and with the public. DHS is uniquely situated to share informatiori in an authoritative way,
        something that the private sector and academia cannot do. Conversely, infonnation sharing
        carries risks for the Department and must be accomplished in a way that is perceived as unbiased
        and viewpoint neutral.
    •   In addition, the federal government may not always be the ideal or most trusted voice on a given
        topic. OHS should work closely as appropriate with state, locaJ, tribal, and territorial (SLTT)
        authorities and private sector partners.

DBS Functions and Existing Efforts to Counter Disinformation
OHS components are already engaged in countering disinfonnation, with activities falling into five
functions that are performed by the components themselves or through third-party resources: 1)
identification of disinfonnation relevant to DHS's mission; 2) analysis of its source and influence; 3)
information sharing regarding threats posed by disinformation, 4) response to the disinformation threat;
and 5) building resilience to disinformation. There is also excellent work being done by interagency
partners, the private sector, and academia-particularly concerning identifying and analyzing
disinformation-and OHS should leverage this work when possible.

1) Identification: Information gathering on disinfonnation threats and trends.
   • !&A's Homeland Influence Task Force collects information on possible disinformation from
       publicly available sources as well as other intelligence sources where the collection furthers one
       ofl&A 's authorized inteUigence missions, such as foreign intelligence and protection of criticaJ
       infrastructure.
   • CISA gathered information on disinformation related to the elections with SLTT partners leading
       up to the 2020 election and has limited authority to collect infonnation on disinfonnation related
       to critical infrastructure.

2) Analysis: Assessing the impact of specific disinformation narratives on the homeland or on DHS
    missions.
    • l&A, as well as other components engaging in intelligence and analytic functions, produce
        analysis on disinformation threats, whom they may be targeting, and what attendant risks might
        arise.

3) Information Sharing: Providing timely, quality information on disinformation threats and strategic
   trends to stakeholders including SLTT authorities, private sector partners, or the public directly.
   • Leading up to the 2020 election, CISA relayed reports of election disinfonnation from election
       officials to sociaJ media platform operators.

                                PRE-DECISIONAL/DELIBERATIVE
                          ~•@Jsitr881Pl@8 ;';' P81t 8PPl@fstds eJ81' 8lflsY

                      Release Authorized by Senator Grassley and Senator Hawley
                      Release Authorized by Senator Grassley and Senator Hawley


                               PRE-DECJSIONAL/DELIBERATJVE
                         ffl•etA88tP1ffll> H POtl OPPle'.!blft 1'81! et•LY

Subject: Organizing DHS Efforts to Counter Disinformation
Page3

    •   I&A distributes intelligence products to SLTT partners related to disinformation threats. Most
        recently, I&A issued a Public Safety Notification concerning the possible threat of violence
        motivated by conspiracy theories related to the "reinstatement" of former President Trump.
    •   The August 13, 2021 National Terrorism Advisory System Bulletin referenced the threat of
        disinformation spread by foreign and domestic threat actors.

4) Response: Factually countering disinfonnation through public communications channels to mitigate
   related threats, increase awareness, and improve public safety.
   • During the 2020 election, CISA maintained a 'Rumor Control' website to counter foreign
        disinformation related to the security and conduct of the vote. CISA sought to 'prebunk'
        incorrect claims with factual information.
   • In your August 12, 2021 public remarks in Brownsville, TX concerning the southwest border,
        you stated your intention to "debunk false information that has been spread," sharing factual
        information about the situation on the ground and DHS's border enforcement and policies.

5) Building Resilience: Improving the public's ability to detect disinformation through digital and media
   literacy, where DHS has a unique role to play, programs and civic education. These programs are
   coordinated with federal, SLTT, and private sector partners.
   • CISA lau6ched a graphic novel series to reach potentially impacted communities in a non-
        traditional way. The novels educate on the dangers of disinformation and how to detect it.
   • PLCY is workjng with the Department of Education to build resilience to disinformation and CP3
        Digital Forums and Community Awareness Briefings could further address digital media literacy,
        empowering communities to mitigate the harmful effects of content encouraging violence.
   • S&T Technology Centers are examining methods to mitigate disinfonnation, to include
        leveraging global research leaders on this topic and to provide scientific advice in support of
        Department initiatives.

Models to Structure DBS Counter-Disinformation Efforts
There are many possible ways to structure DHS counter-disinformation efforts moving forward. The
models presented below for your consideration represent a spectrum of options, from fully federating
counter-disinformation operations to operational components, to building in vacying levels of
Headquarters oversight, governance, and coordination.

Option 1 Fully Federated Model: Operational Components Execute Independently
The DHS counter-disinformation mission would be entirely federated to components, which would report
to the Secretary and Deputy Secretary in the ordinary course but would not otherwise be governed by
specific headquarters policies or guidance on this topic beyond existing DHS oversight functions. This
model generally resembles the status quo in which components identify and prioritize disinformation
threats in their respective mission spaces (sometimes relying on I&A intelligence reports), plan and
execute operations, and conduct their own oversight and governance. It also means that each component
operates under its own authorities, including the limits on these authorities.

Option 2 Governance Board Model: Independent Component Execution Under an Overarching DHS
Protective Framework
Execution of DHS counter-disinformation operations would be federated to components, but subject to
overarching Department-wide governance requirements to ensure that a common set of issue-agnostic
safeguards and oversight tools are employed. PLCY could convene a governance board that would

                              PRE-DECISJ ONAL/DE LIBERATIVE
                         Wt U!ILA881Flti8 ;';' FQll QFFIQlhL WBe Ql flsY

                    Release Authorized by Senator Grassley and Senator Hawley
                    Release Authorized by Senator Grassley and Senator Hawley


                                PRE-DECJSIONAL/DELIBERATIVE.
                           t9Ht:LA88t¥H!f> fl' Pell efCPtetM..: t'J8~ e1qL'1

Subject: Organizing DHS Efforts to Counter Disinformation
Page4

promulgate policy and legal requirements setting forth baseline requirements that all components must
meet in their counter-disinfonnation work, to include protections ensuring compliance with applicable
civil rights and civil liberties, privacy, and legal requirements, such as First Amendment and Privacy Act
requirements. Members would include all components conducting counter-disinformation operations as
well as CRCL, PRJV, OGC, l&A, S&T, and MGMT.

The board's role would not be prescriptive, instead providing components with guidelines and minimum
safeguards applicable across disinformation missions, regardless of the topic. The board could also
develop and share with components best practices, to include:
     • Risk assessment methodologies to prioritize disinformation threats with a nexus to violence or
        that pose a direct risk to operations;
     • Guidelines for partnering with or procuring counter-disinformation services from the private
        sector consistent with the sensitivities addressed above; and
     • Best practices for auditing or other oversight of counter-disinfonnation operations.

The board could also convene DHS stakeholders when new disinformation threats emerge or are
identified by interagency partners that do not clearly fit within a disinformation mission already being
performed by a DHS component The board would determine who within the Department is best
positioned to address the threat, make recommendations to the Secretary as to how the new threat should
be addressed, and support whichever operational component is taking on the mission in standing up with
appropriate governance.

The board would not play a role in coordinating or overseeing operations. Components would determine
the functions they need for their counter-disinformation missions and how they will perform them. For
example, a component could conduct identification and analysis itself, or leverage reporting from l&A or
another federal agency, or engage private sector services.

Components would also be responsible for partner engagement in their respective mission spaces,
including with the interagency, SLTT authorities, private sector entities, tech platforms, and the general
public. Components would work together as needed to coordinate engagement with partners to avoid
organizations receiving overlapping outreach from multiple parts of the Department.

Option 3 Disinformation Coordinator Model: Coordinated Oversight and Operations
The most centralized approach could involve a newly-designated Coordinator for Countering
Disinformation, modeled after the Department's Counterterrorism Coordinator. The Coordinator would
work with components (and potentially non-DHS agencies should the administration encourage such an
approach) to develop policies, procedures, and guidelines, and identify required resources to mature the
Department's disinformation capabilities. Components would still be responsible for executing their
respective disinformation missions, but the Coordinator would regularly convene components to facilitate
the identification and analysis of disinfonnation threats and coordinate operational responses.

The Coordinator would also be responsible for developing homeland security counter-disinformation
functions in coordination with components, other federal agencies, international partners, academia, non-
profits, and the private sector, to include:
    • Instituting Department-wide governance and oversight structures to ensure counter-
         disinformation efforts satisfy, among other considerations, civil rights and civil liberties, privacy,
         and legal (including First Amendment) requirements (similar to Option 2 above);

                                  PRE-DECISJONAL/DELIBERATJVE
                           l:Ji! m~A881Pll!8 ;',I P8R: 8PPl@fitzts "'8~ 81 Hslf

                   Release Authorized by Senator Grassley and Senator Hawley
                  Release Authorized by Senator Grassley and Senator Hawley


                             PRE-DECISIONAL/DELIBERATJVE
                         tfl@etA8SlPIM ,~· PeJt ePPtetJ!t:L "181! e!@LY

Subject: Organizing DBS Efforts to Counter Disinformation
Page5

    •   Growing DHS counter-disinfonnation capacity by ensuring components develop expertise
        through new hiring, training, and external partner engagement;
    •   Keeping apprised of the overall disinfonnation environment and coordinating action with relevant
        agencies and stakeholders on cross-cutting issues.
    •   Reviewing and making recommendations with respect to DHS authorities to counter
        disinfonnation;
    •   Developing policies for DHS public communications on disinformation as well as driving
        engagement with SLTT and private sector entities, including platfonn operators, together with
        components;
    •   Engaging SL1T authorities to respond to the disinformation threat, including through Fusion
        Centers and state homeland security advisors; and
    •   Serving as a central point of contact for interagency partners such as the White House, State's
        Global Engagement Center, DOJ, HHS, DOD, and the Intelligence Community.

*****
PLCY recommends Option 2, to ensure nimbleness and component ownership of their mission spaces,
while also providing assurance that all programs across the Department will operate in a manner
consistent with our values. All components recommend a fulsome discussion with you to chart the way
forward in this challenging space, so that a detailed action and implementation plan can be developed
based on your guidance.




                              PRE-DECISIONAL/DELIBERATIVE
                         Ut '9Lt't881PIM NP8Jl 8FPtotftL ~8rl 8t tLY

                      Release Authorized by Senator Grassley and Senator Hawley
                          Release Authorized by Senator Grassley and Senator Hawley


                                  \JNOL/Ji3'9113llii9:'IPOR Offl€ll111ls W8~ o•JL7J
                                      PREDECISIONAL//DELIBERATIVE
                                                                                   U.S. Department of Homeland Security
                                                                                   Washington, DC 20S28




                                                 January 31, 2022

                                                     ACTION

    MEMORANDUM FOR THE SECRETARY

    FROM:                            Robert Silvers                                                     OlgMallyslgnedby
                                                                                      ROBERTP           ROBERTP SILVERS
                                     Under Secretary                                                    Date: 2022.02.01
                                                                                      SILVERS           16:27:36 -05'00'
                                     Office of Strategy, Policy, and Plans

                                     Jennifer Daskal                         JENNIFER C ~~~:~~~KAI.
                                                                                        Dale: 2022.02.01
                                     Acting Principal Deputy General Counsel DASKAL     11:SS:32-0S'Oo'


•   SUBJECT:'                        Disinformation Governance Board Charter


    Purpose: To obtain your approval of the charter for the Disinformation Governance Board.

    Background: On September 29, 202 I, you directed headquarters and Component leadership to
    pursue a governance board model to coordinate efforts to counter mis-, dis-, and mat-information
    (MDM) across the Department. 1 You emphasized the need for clarity as to the Department• s
    policies, standards, and best practices related to MDM work. You also concluded that
    operational efforts to counter MDM should largely be carried out by Components, which would
    be responsible for their respective mission areas subject to the oversight of the governance board.

    Based on that guidance, we developed the attached charter for a DHS Disinformation
    Governance Board (''the Board") to execute this critical work. The Board will ensure
    Departmental efforts to counter MDM are coordinated, deconflicted, and harmonized. The
    Board's primary roles are to develop and support the implementation of best practices, policies,
    and protocols that support the identification, assessment, response, and resilience to MDM
    threats, and that do so in a way that ensures respect for privacy, civil rights, and civil liberties.
    The Board will also support and coordinate, in conjunction with the relevant Components, MOM
    work with other departments and agencies, the private sector, and non-governmental actors. In
    addition, the Board will support research and development efforts to understand the MOM threat
    to homeland security.

    The Board will be co-chaired by representatives of the Office of Strategy, Policy, and Plans
    (PLCY) and the Office of the General Counsel. Members will include components engaged in

    1 This model is presented as Option 2 in the September 13, 2021 memorandum 'Organizing OHS Efforts to Counter

    Disinfonnation.'
                                  tJf 1OLrtz88Wl~B,1,f1Oft OfPIOlt\lJ 88!8 Of &li
                                       PREDECISIONAL//DELIBERATIVE

                            Release Authorized by Senator Grassley and Senator Hawley
                    . Release Authorized by Senator Grassley and Senator Hawley


                           lJfJOLr'lOOIHi!li;l1IPOR OFPl€ll,ftls lJOl!i 9i'JlsY
                                PREDECISIONAL//DELIBERATIVE

Subject: Disinformation Governance Board Charter
Page2

counter-MOM activities or that provide oversight and support for such activities. Members will.
be represented by the principal or deputy for their respective Component/Offices.

The Board will meet no less than once per quarter for the first two years of its existence. It will
be supported by a Steering Group, consisting of representatives designated by each Member. A
senior official from within PLCY will serve as Executive Director for the Board and Chair of the
Steering Group, to be supported by an Executive Secretariat comprised of staff detailed or
assigned to PLCY. As we build, we may enlist your office's support in obtaining detailees or
other staffing.

The Charter has been coordinated with all OHS components that will be Members of the Board.

For your awareness, we attach a copy of the MOM Playbook that PLCY, together with
components, developed for countering MOM in a unified way across the Department in the
context of the current situation in Ukraine. We are enthusiastic about the further work that the
Disinfonnation Governance Board can accomplish.

Timeliness: We request your signature of the charter as soon as practicable.




                           UNOL1t100IFl8:B;l1IPOR OPfll@ltfi!ls U0B OPtLi7J:f
                              PREDECISIONAL//DELIBERATJVE


                   Release Authorized by Senator Grassley and Senator Hawley
                  Release Authorized by Senator Grassley and Senator H awley




Subject: Disinformation Governance Board Charter
Page3


Recommendation: Approve the charter for the Disinformation Governance Board.




Modify/date_ _ _ __ _ __ _                Needs discussion/date
                                                                ---------
Attachments:
   A. Disinformation Governance Board Charter
   B. Ukraine MDM Playbook
    C. 'Organizing OHS Efforts to Counter Disinformation' (September 13, 2021)




                         l!JN€JLIM,&IFl691';'f9R 9Pfl€ll1t'JL il!i61!1 9HL7J


               Release Authorized by Senator Grassley and Senator H awley
                 Release Authorized by Senator Grassley and Senator Hawley


                    P81\ 811 icllflffl 881!1 8!ftff /DELIBERATIVE/ DRAFT


                           DHS Disinformation Governance Board
                                        Charter

Section 1. Purpose

The DHS Disinformation Governance Board ("Board") will guide and support the Department's
efforts to address mis-, dis-, and mal-information that threatens homeland secmity ("MDM").
Whereas Department Components will lead on operational responses to MDM in their relevant
mission spaces, the Board will ensure DHS efforts are coordinated, deconflicted, and
harmonized, both within DHS and across the interagency, to ensure efficiency, unity of effort,
and promotion of applicable compliance and best practices.

The Board will focus on the following four cross-functional lines of effort to counter MDM,
many of which are already underway ("lines of effort',): (1) identifying MDM ("Identification");
(2) assessing and analyzing the risk that such MDM poses to homeland security ("Risk
Assessment''); (3) responding to these MOM threats ("Response"); and (4) building resilience to
MDM (''Building Resilience").

With respect to each ofthese lines of effort, the Board will develop and support the
implementation of governance policies and protocols that, among other issues, protect privacy,
civil rights, and civil liberties; hannonize and support coordination with other departments and
agencies, the private sector, and non-governmental organizations; and support research and
development efforts to assess and combat MDM.

Section 2. Members

The Board will be co-chaired by representatives of the Office for Strategy, Policy, and Plans
(PLCY) and the Office of the General Counsel (OGC). Standing Board members will be
representatives of the following DHS Components: the Management Directorate (MGMT);
Office of Intelligence and Analysis (l&A); Science and Technology Directorate (S&T); Privacy
Office (PRIV); Office for Civil Rights and Civil Liberties (CRCL); Office ofPublic Affairs
(OPA); Cybersecurity and Infrastructure Security Agency (CISA); Federal Emergency
Management Agency (FEMA); and U.S. Customs and Border Protection (CBP).
Representatives shall be the Principal or Deputy for their respective Component Other
Components may be invited to either join the Board or participate on an ad hoc basis, as
appropriate and needed.

Section 3. Structure

The Board will be supported by a Steering Group, which will consist of a representative from
each Component participating in the Board. Each representative will be selected by their
respective Board member.
                   Release Authorized by Senator Grassley and Senator Hawley

                    P8R 8Hil01/J.t. "881!1 8filft / DELIBERATIVE/ DRAFr


The Board co-chairs will designate a OHS senior official to serve as the Executive Director for
the Board and Chair of the Steering Group. The Executive Director will be detailed or assigned
to PLCY, where they will be supported by an Executive Secretariat for the Board comprising
staff detailed or assigned to PLCY. The Executive Director will attend and may participate in all
Board meetings.

Section 4. Board Responsibilities

Components will lead on MOM-related operational responses and other efforts to counter MOM
in their relevant mission spaces. The Board will serve as the central forum in the Department to
ensure consistent governance and coordination of such efforts, and adherence to applicable
constitutional, statutory, and regulatory authorities and obligations.

The Board's initial responsibilities will include a review ofexisting MOM governance policies
and practices across the Department, including:

   • policies, procedures, practices, plans, and standards to ensure compliance with applicable
     constitutional, statutory, and regulatory obligations;
   • policies, procedures, practices, plans, and standards to ensure appropriate privacy and
     civil rights and civil liberties protections;
   • policies, procedures, practices, plans, and standards for interactions with the private, non-
     profit, and academic sectors; and,
   • relevant procurement policies and practices.

Based, in part, on the findings from its initial review, the Board will be responsible for
developing MOM-related guidance, best practices, and recommendations regarding:

   •   compliance with applicable constitutional, statutory, and regulatory obligations;
   •   standards for and implementation of appropriate privacy, civil rights, and civil liberties
       protections;                       .
   •   procurement guidelines for contracting or funding third parties to support the
       Department's MDM efforts;
   •   grant funding and cooperative agreements;
   •   development and implementation of new technological and data management tools; and,
   •   any other applicable guidance, best practices, and recommendations to guide the
       aforementioned four lines of effort.

The Board also will coordinate, deconflict, and harmonize departmental efforts to address MOM,
including by:

   •   receiving regular and routine updates :from DHS Components, the Intelligence
       Community, and other interagency partners on MDM;
   •   hannonizing and deconflicting activities by OHS Components regarding the lines of
       effort;
   •   harmonizing, deconflicting, and coordinating, in conjunction with relevant Components,
       the Department's external engagement regarding MDM;
                   Release Authorized by Senator Grassley and Senator Hawley

                     11811: 8fltill01.'Jds li81l 8JIMJ /DELIBERATIVE/ DRAFT


   o    serving as the Department's internal and external point of contact for coordination with
        state, local, tribal, and territorial partners, the private sector, and non-governmental actors
        regarding MDM; and,
   •    serving as the Department's internal and external point of contact for receiving,
        coordinating, responding to, and interacting with interagency partners, including the
        Executive Office of the President, for policy matters generally related to mis-, dis-, and
        mal-information, but not related to the performance of intelligence activities.

Section 5. Roles and Responsibilities of Board Members

The co-chairs of the Board will:

   ►    convene the Board as needed;
   ►    approve the agenda for Board meetings;
   ►    preside over Board meetings;
   ►    approve summaries of conclusions reached during the Board meetings;
   ►    communicate Board decisions and activities to the Secretary and other DHS leadership,
        as appropriate;
   ►    represent the Board to external audiences; and,
   ►    take all other actions necessary and proper for the execution of the Board's
        responsibilities.
   ►
The Board Members will:

   ►    represent the perspectives of their respective Components at Board meetings;
   ►    review any proposals submitted to the Board; and,
   ►    ensure that their respective Components implement, execute, and follow Board decisions.

The Executive Director will:

   ► propose agenda items and discussion topics for the Board following Steering Group
     review;
   ► communicate the positions taken at the Steering Group concerning proposals before the
     Board;
   ► propose summaries of conclusion for each Board and Steering Group meeting;
   ► implement and execute Board decisions through the Steering Group;
   ► supervise the activities of the Executive Secretariat; and,
   ► represent the Steering Group and, where appropriate and in coordination with the co-
     chairs, the Department to external audiences on MDM-related matters.

The Steering Group Members will:

   ►    represent the perspectives of their respective Components at Steering Group meetings;
   ►    review and discuss any proposals to be submitted to the Board;
    ►   communicate their considerations of Board proposals to their respective Board Members,
        the Executive Director, and other members ofthe Steering Group;
                 Release Authorized by Senator Grassley and Senator Hawley

                    Pelt ePPICM'!l 1e81!) eHtfl' /DELIBERATIVE/ DRAFT


   ►   review and approve summaries of conclusions of Steering Group meetings; and,
   ►   subject to the direction and guidance of their respective Board Members, help ensure that
       their respective Components implement, execute, and follow Board decisions.

Section 6. Processes & Procedures

The Board will meet regularly at the discretion of the co-chairs and no less than once per quarter
for the first two years of the Board's existence. The Steering Group will meet at the discretion of
the Board or Executive Director. Issues raised and proposals submitted to the Board will be
resolved by consensus to the greatest extent possible. Where there is a disagreement amongst the
Board members, the Board will resolve the matter before it by majority vote. In the absence of
consensus, any Board member may elevate, in the fonn of a written memorandum, an issue to
the Secretary or Deputy Secretary where they believe that a decision made by the Board
implicates their statutory or other assigned authorities.

The Steering Group is not a voting body. Instead, its members will discuss all issues brought
before it and make their recommendations to the Board. Steering Group members will support
the development of consensus recommendations to the Board to the greatest extent possible.

Section 7. Relationship to Other Departmental Governance Bodies

The Board wi11 serve as the departmental forum for governance of DHS policies, plans,
procedures, standards, and activities pertaining to MDM that threatens homeland security. As
such, all DHS-wide or Component-specific proposals for funding related to efforts to counter
MOM should be appropriately coordinated with the Board, including in advance of submitting
any final funding proposals. Matters raised before the Board may implicate other departmental
governance fora already in existence. Where that occurs, the Board will coordinate its activities
with those respective fora through the Executive Director.

Section 8. Effective Date

This charter will go into effect when signed by the Secretary of Homeland Security.

Section 9. Signature




            dro N. Mayorkas
             Secretary
U.S. Department of Homeland Security
                                     Release Authorized by Senator Grassley and Senator H awley




                                          POI\ OMOl;l1b UH Ot ILY

                                                       Twitter

                                               April 28, 2022 (TBC)

    Overview:
•     You wiJI meet in person with Twitter executives Nick Pickles, Head of Policy, and Yoel
     Roth, Head of Site Integrity, for XX minutes on public-private partnerships, MDM, and
     countering DVE. The meeting is off the record and closed press.
      ► You have previously met with Jessica Herrera-Flanigan, Twitter's Vice President of
         Public Policy and Philanthropy for the Americas.
      ► !ei~~7

      ►
          ~s'
          You will be staffed by
                                                                                                           .. . . . . . ..
                                 ain.exte.....·a~~i"""...is:,wiii;--<1fil._'6e:"'iii10·:fJieii'"rnicfalZG'fe-:
              e-.iR~:o~~." .[.·.~~...=···~....·~~~.~...~~~~...~~~.~.~~.~.:~~~=~~ ~~~                                          •··fc~iti~~j~:i!<ifii::i'l.ac~l4~::..::;.~,:;'.';;•:~=;Y~::•-r·i'.I

Key Objectives:
• This meeting is an opportunity to discuss operationalizing public-private partnerships
   between DHS and Twitter, as well as inform Twitter executives about OHS work on MOM,
   Including the creation of the Disinformation Governance Board and its analytic exchange,
   and the Department's ongoing DVE work.

lmow:"ofsfil>w:L........................ ··········.········································································ •~&.i!i~~!ited,i@ifii)~~oj~~u-· :. ··r.::::.:'~~;~r.::z~.j;
•      I :45 pm ET:         [Example] Tech check prior to meeting.

•     2:30pmET:             Event concludes.

leaclci"~~ ..................................................··········.············ .................................•··· ;c
• Note: Nick and Yoe) both know DGB Executive D1rector Nma Jankow1c2.
                                                                                                                             ~~~~~liif3J;~!f~i~;~f~~-~~iiltJ:~~~i~           ~
                                                                                                                           .eng.g ____ .'Yi.. • •., - ... , ...... ·- · •· •····•-"-•··· -~-·
•     Propose that Twitter become involved in Disinformation Governance Board Analytic
      Exchanges on Domestic Violent Extemism (DVE) and Irregular Migration.
               ► Thank Twitter for its continued participation in the CISA Analytic Exchange
                 on Election Security.
•     Ask what types of data or information would be useful for Twitter to receive in Analytic
      Exchanges or other ways the Department could be helpful to Twitter's counter-MDM
      efforts.

Participants:
UIS Silvers
                 Managing Director for Strategy

External:
(Principal), (Role)
(Staffer), (Role)
(Staffer), (Role)

tpAGE BREAK BEFORE DISCUSSION POINTS)

                                           POR OPPIOIJ iL 'U81!1 81 ILY
Release Authorized by Senator Grassley and Senator Hawley




    P8R 8PPl81i ,1:5 81!1B 8111:5 I




                                                2
   P8R 8PFJ@!! t!J ~1!11!! 81 I!! I




Release Authorized by Senator Grassley and Senator Hawley
                                       Release Authorized by Senator Grassley and Senator Hawley




                                              F8ft OPPll!lli tb 1:118!! 81 lb I

Discussion Points:

OHS Efforts on MOM
• Introduce the Disinfonnation Governance Board.
          ► The Board will ensure that OHS is actively and efficiently leveraging all its
              available resources and capabilities to mitigate and counter disinformation with a
              homeland security nexus, consistent with a deep commitment to protecting privacy
              and free speech.
          ► The Board will serve as a coordinating mechanism for the Department's outreach to
              industry, civil society, and international partners on MOM.
  • The Board's initial work plan includes establishing analytic exchanges with industry on
     countering MOM related to domestic violent extremism and irregular migration.
          ► Propose that Twitter be an active participant in these exchanges and thank the
              company for their continued engagement with CISA 'selection security exchange.

 pperalion'flizingiP.doiilSiP-nvat'el!artne'isiiips! _..... --.. _. __ ...--.. ·-.... _... _. _. ___ . _. --·. _-· ·-----..---·-· _. __ -· --··i1~0.iWin'~a;tK£~:.clsA::ilid"~3:;;1~'ailci,Ti'.;~~,·;.·'::::I
    •
DVE
    •    The United States remains deeply concerned regarding the complex, cross-cutting li.nks
         between MDM and all forms of violent extremism.
    •    The primary terrorism-related threat to the United States continues to stem from Ione
         offenders or small cells of individuals who ~ motivated by a range of foreign and/or
         domestic grievances often cultivated through the consumption of certain online content.
    •    Key factors contributing to the current heightened threat environment include:
              ► The proliferation of false or misleading narratives, which sow discord or
                  undermine public trust in U.S. government institutions.
              ► Continued calls for violence directed at U.S. critical infrastructure; soft targeL~ and
                  mass gatherings; faith-based institutions, such as churches, synagogues, and
                  mosques; institutions of higher education; racial and religious minorities;
                  government facilities and personnel, including law enforcement and the military;
                  the media; and perceived ideological opponents.
              ► Calls by foreign terrorist organizations for attacks on the United States based on
                  recent events.
    •    In June, the White House released the first ever National Strategyfor Combatting Domeslic
         Terrorism. In response, DHS has realigned and dedicated resources to combat domestic
         violent extremists (DVEs) and would like to have a deeper discussion on our latest
         assessments.
              ► The OHS Office oflntelligence and Analysis (or I&A) created a domestic terrorism
                  branch within its counterterrorism mission center to ensure DHS develops the
                  expertise necessary to produce sound and timely intelligence, at the lowest
                  classification possible in order to infonn our stakeholders.
              ► The Department established a new Center for Prevention Programs and Partnerships
                  (CP3) to improve the Department's ability to combat terrorism and targeted
                                                                                                                                  3
                                              P8ft 8f1il8h\Js WH 8Hltl




                                       Release Authorized by Senator Grassley and Senator Hawley
                                Release Authorized by Senator Grassley and Senator Hawley




                                     JiiR ilif'lilil k I Hili ii IL' 5

                   violence, consistent with privacy protections, civil rights and civil liberties, and
                   other applicable laws.
     •   We are working to improve our ability to identify narratives that are playing out online in
         effort to counter the threat that is increasingly manifesting through various digital forums

Ukraine
   • Together with partners from across the U.S. Government, DHS components - including
      CISA, FEMA, TSA, the U.S. Coast Guard, and our policy and legal staffs are preparing for
      a range of potential scenarios.
           • Our goal is to ensure that - well in advance of any potential incident- we are
              connecting operators from across our government and the private and civil sectors
              so we can identify and work to remediate an emerging campaign as quickly as
              possible.
           • Twitter participated in a CISA/FBI led call with social media companies on
              February 25th to discuss potential of influence operations stemming from the
              escalating geopolitical issues as it relates to U.S. critical infrastructure.
   • Following actions taken by the U.S. and allies, we have seen increased instances ofMDM
      and malign foreign influence on publicly available websites that may be linked to the
      Russian government, military, and intelligence services in the Russian and Ukrainian
       languages. These include allegations that the United States is deploying military forces to
      Ukraine's eastern front and that U.S. intelligence services are staging false-flag attacks in
       Ukraine to instigate a conflict

Hard Q&A:
• What questions do we expect and/or know will come up in this meeting?
 . ► Please provide a concise recommended response.


Attachments
A. Biographies

Staff Responsible for Briefing Memo: Nina Jankouicz, Executive Director DRS
Disinformation Governance Board,




                                                                                                          4
                                      P8R 8JiPIOh dY WIH!I 81 ll!s7f




                                  Release Authorized by Senator Grassley and Senator Hawley
                     Release Authorized by Senator Grassley and Senator Hawley

                           POft OPff@ik'il.s iWOfl OP&.¥/ DELIBERATIVE


                           DHS Disinformation Governance Board Charter

Section 1. Purpose. The purpose of the Board is to support the Department's efforts to address mis-,
dis-, and mal-information (MOM) that threatens homeland security. Departmental components will lead
on operational responses to MOM in their relevant mission spaces. The Board will ensure these activities
are conducted within a protective governance framework that respects privacy, civil rights, and civil
liberties. This work will be speaker-agnostic, focusing on the narratives rather than those who originate or
spread them. The board will also ensure that Departmental efforts are coordinated and deconflicted to
ensure efficiency, unity of effort, and promotion of best practices across the Department's MOM work.
More specifically, the Board's primary roles are three-fold: I) To develop and implement governance
policies for departmental efforts related to MOM, 2) To decontlict departmental efforts to counter MOM
narratives that threaten homeland security, including with respect to departmental engagement with third
parties; and 3) To streamline and enhance coordination with other departments and agencies and promote
best practices for counter-MOM work.
These efforts will focus on four lines of effort (LOEs) that cut across efforts to counter MOM across
OHS' s many mission spaces:(!) identifying narratives of concern (''Identification"); (2) assessing and
analyzing the risk that such narratives pose to homeland security ("Risk Assessment"); (3) responding to
these narratives ("Response"); and (4) developing resilience against MOM ("Building Resilience").
Sec. 2. Members. The Board will be co-chaired by the Office for Strategy, Policy, and Plans (PLCY)
and the Office of the General Counsel (OGC). Standing Board members will be the following: the
Management Directorate; the Office of Intelligence and Analysis (I&A); the Science and Technology
Directorate (S&T); the Privacy Office (PRIV); the Office for Civil Rights and Civil Liberties (CRCL); the
Office of Public Affairs (OPA); the Cybersecurity and Infrastructure Security Agency (CISA); the
Federal Emergency Management Agency (FEMA); and U.S. Customs and Border Protection (CBP).
Other components may be invited to participate on an ad hoc basis.
Sec. 3. Structure.
Each Board member will be represented by the Principal or Deputy for their respective component. The
Board will be supported by a OHS MOM Steering Group, which will consist of representatives for each
component participating in the Board selected by their respective Board member. In addition, the
Secretary will designate a senior official from within the Department to serve as the Executive Agent for
the Board and Chair ofthe Steering Group. The Executive Agent will be detailed or assigned to PLCY,
where they will be supported by an Executive Secretariat for the Board and Steering Group comprising
staff detailed or assigned to PLCY. The Executive Agent will attend and may participate in all Board
meetings.
Sec. 4. Roles & Responsibilities.
Department components will lead on operational responses to MOM in their relevant mission space. The
Board will serve as the central forum in the Department to ensure consistent governance and coordination
of such efforts.
    ►   The Board's initial responsibilities wiJI include a review of existing MOM governance policies
        and practices across the Department, including-
            o Policies, procedures, practices, plans, and standards to ensure compliance with applicable
                constitutional, statutory, and regulatory obligations;
                   Release Authorized by Senator Grassley and Senator H awley

                          1?8ll 8ffl@ltlt. "813 8Nlsi\f/ DELIBERATIVE


           o  Policies, procedures, practices, plans, and standards to ensure appropriate privacy and
              civil rights and civil liberties protections;
          o Policies, procedures, practices, plans, and standards for interactions with the private, non-
              profit, and academic sectors; and
          o Relevant procurement policies and practices.
    ► The Board will also be responsible for developing guidance, best practices, and recommendations
      with respect to-
          o Compliance with applicable constitutional, statutory, and regulatory obligations;
          o Ensuring the implementation of appropriate privacy and civil rights and civil liberties
              protections;
          o Proposals for additional or amended departmental authorities or funding, consistent with
              the processes of the Deputies Management Action Group (DMAG);
          o Procurement guidelines for contracting with third parties to support the Department's
              MDM efforts;
          o Grant funding; and
          o Any other applicable best practices to guide the lines of effort with respect to
              identification, risk assessmen,, response, and building resilience.
The Board also will coordinate and deconflict departmental efforts to address MDM narratives that
threaten homeland security. This will include-
    ► Receiving regular and routine updates from Departmental components on MDM narratives of
      concern and the relevant MDM lines of effort;
    ► Deconflicting any ac~ivities by the Department and relevant components to counter MDM with
      respect to external outreach to the private and other nongovernmental actors;
    ► Serving as a departmental point of contact, in addition to component points of contact, as
      appropriate, for receiving and assessing concerns about MDM raised by federal, state, local,
      tribal, private sector, or other nongovernmental partners; and
    ► Serving as a departmental point of contact, in addition to component points of contact, for
      receiving, coordinating, responding to, and interacting with interagency partners, including the
      Executive Office of the President, for all MDM matters not related to the performance of
      intelligence activities.

The Co-Chairs of the Board will-

    ►   Convene the Bo~;
    ►   Compose the agenda for Board meetings;
    ►   Preside over Board meetings;
    ►   Approve and disseminate summaries of conclusions reached at the Board meetings;
    ►   Communicate Board decisions and activities as they deem appropriate to the Secretary and
        Deputy Secretary;
    ►   Represent the Board to external audiences; and
    ►   Take all other actions necessary and proper to execution of the Board's responsibilities.

The Board members will-
    ► Represent the perspectives of their respective offices or components at Board meetings;
    ► Review and either approve or reject any proposals submitted to the Board; and
    ► Ensure that their respective components implement, execute, and follow Board decisions.
                    Release Authorized by Senator Grassley and Senator Hawley

                           P0R 0J.iJff@ttl!ls i88'8 OH~¥/ DELIBERATIVE


The Executive Agent will-

    ►   Propose agenda items and discussion topics for the Board following Steering Group review;
    ►   Communicate the position(s) taken at the Steering Group concerning proposals before the Board;
    ►   Propose summaries of conclusion for each Board meeting;
    ►   Implement and execute Board decisions through the Steering Group;
    ►   Supervise the activities of the Executive Secretariat; and
    ►   Represent the Steering Group and, where appropriate and in coordination with the Co-Chairs, the
        Department to external audiences on matters concerning MOM.

The Steering Group members will-

    ► Represent the perspectives of their respective offices or components at Steering Group meetings;
    ► Review and either endorse or oppose any proposals to be submitted to the Board;
    ► Communicate their endorsements or oppositions to Board proposals to their respective Board
      members, the Executive Agent, and other members of the Steering Group; and
    ► Subject to the direction and guidance of their respective Board members, help to ensure that their
      respective components implement, execute, and follow Board decisions.

Sec. 5. Processes & Procedures.
The Board will meet regularly and at the discretion of the Co-Chairs, but in any event no less than once
per quarter for the first two years of the Board's existence. The Steering Group will meet at the discretion
of the Executive Agent. Issues raised and proposals submitted to the Board will be resolved by consensus
to the greatest extent possible. Where there is a disagreement amongst the Board members, the Board
will resolve the matter before it by majority vote. In the absence of consensus, any Board member may
elevate, in a form of a written memorandum, an issue to the Secretary or Deputy Secretary where they
believe that a decision made by the Board implicates their statutory or other assigned responsibilities.

The Steering Group is not a voting body. Instead, its members will make recommendations to the Board,
as communicated by the Executive Agent. The Steering Group members will endeavor to make
consensus recommendations to the Board to the greatest extent possible. The Executive Agent will
prepare draft summaries of conclusion after each Boaf4 meeting. The Co-Chairs will review and approve
the summaries of conclusion before they are socialized with the other Board members.

Sec. 6. Relationship to Other Departmental Governance Bodies.
The Board will serve as the senior departmental forum for governance of departmental policies, plans,
procedures, standards, and activities pertaining to MOM. As such, all proposals for funding through the
DMAG concerning efforts to counter MOM must be coordinated in advance with the Board. Matters
raised before the board may implicate other departmental governance fora already in existence. Where
that occurs, the Board will coordinate its activities with those respective fora through the Executive
Agent.

Sec. 7. Effective Date.
The charter will go into effect when signed by the Secretary of Homeland Security.
                        Release Authorized by Senator Grassley and Senator Hawley

                             tiNCMOOIMt:!DOF6ft 6W:ICtA15 tiOI!! 8NUi
                                 PREDECISIONAL//DELIBERATIVE
                                                                                U.S. Department of Homeland Security
                                                                                Wasblogtoo, DC 20528


                                                                            ~   Homelalld
                                                                            ~   Security
                                                ACTION

MEMORANDUM FOR THE SECRETARY

FROM:                            Robert Silvers
                                 Under Secretary
                                 Office of Strategy, Policy, and Plans

                                 Jonathan Meyer
                                 General Counsel

SUBJECT:                         DBS Disinformation Governance Board Charter


Purpose: To obtain your approval of the charter for the OHS Disinformation Governance
Board.

Background: In a September 29, 2021 discussion with headquarters and Component leadership,
you directed the Department to pursue a governance board model to coordinate efforts to counter
mis-, dis-, and mal-information (MDM). 1 You discussed the benefits of having a mechanism
that would develop and coordinate intra-Departmental governance policies, standards, and best
practices related to MOM work and that could coordinate efforts to engage private sector
stakeholders. Execution of OHS counter-MOM activities would be federated to Components,
who would be responsible for their respective mission areas subject to the oversight of the
governance board.

Based on your guidance, we have developed the attached charter for a DHS Disinformation
Governance Board (Board) to execute this critical work. The Board's primary roles would be
three-fold: 1) To develop and implement governance policies for departmental efforts related to
MOM; 2) To deconflict, where necessary, departmental efforts to counter MOM narratives that
threaten homeland security, including with respect to departmental outreach engagement with
third parties; and 3) To streamline and.enhance coordination with other departments and
agencies and promote best practices for counter-MOM work.

The Board will be co-chaired by the Office of Strategy, Policy, and Plans (PLCY) and the Office
of the General Counsel. Members will include all Components and headquarters offices engaged
in counter-MOM activities or providing oversight and support for such activities. The Board's
guidance will include protections that ensure compliance with applicable law and policy and

1
 This model is presented as Option 2 in the September 13, 2021 memorandum 'Organizing DHS Efforts to Counter
Disinformation.'
                       Release Authorized by Senator Grassley and Senator Hawley

                            t:JNCtsJJzOOIMIU)OPOft OPJilClsltL t:J0~ ONL7l
                                PREDECISIONAL//DELIBERATIVE

Subject: DBS Disinformation Governance Board Charter
Pagel

protect individuals' privacy, civil rights, and civil liberties. Members will be represented by the
principal or deputy for their respective Component/Offices.

The Board will meet no less than once per quarter for the first two years of its existence. It will
be supported by a Steering Group, consisting of representatives designated by each member.
You will designate a senior official from within the Department to serve as Executive Agent for
the Board and Chair of the Steering Group, who would be supported by an Executive Secretariat
comprising staff detailed or assigned to PLCY.

Chartering the Board would provide structure and oversight to critical efforts already underway,
including: 1) a review of existing policies and practices to protect privacy, civil rights, and civil
liberties; 2) developing a framework for the Department to notify specific entities, or in some
cases the public, of MDM relevant to homeland security; and 3) reviewing opportunities for
deeper information sharing and exchange of best practices with platform operators and other
private sector partners.

Timeliness: MDM constitutes a significant and immediate threat to homeland security. We
request your signature of the charter by January 31 to allow for the first meeting of the Board to
occur by the end of February.




                           1tJUCl5PtfJfJtPtm»11; POI\ OPPICl1\'tJ lJfJ~ Of'fl'' f
                               PREDECISIONAL//DELIBERATIVE
                                                      2
                     Release Authorized by Senator Grassley and Senator Hawley
                  Release Authorized by Sen~tor Grassley and Senator Hawley

Subject: DBS Disinformation Governance Board Charter
Page3


Recommendation: Approve the charter for the DHS Disinformation Governance Board.




Approve/date_ _ _ _ _ _ _ __             Disapprove/date_ _ _ _ _ _ _ __ _




Modify/date_ _ _ _ _ _ _ _ __            Needs discussion/date
                                                               ---------
Attaclnnents:
   A. Disinformation Governance Board Charter
   B. 'Organizing OHS Efforts to Counter Disinformation' (September 13, 2021)




                        UHel5A!801FltiBOPOlt OFFtelA!l5 U8ti OHb\l
                           PREDECISIONAL//DELIBERATIVE                             3
                   Release Authorized by Senator Grassley and Senator Hawley
                                   Release Authorized by Senator Grassley and Senator Hawley
     · JOSH HAWLEY                                                                                            COl,UlllTEl:S
           MISSOURI                                                                                         JUDIC1ARY
116 RossnL SENATI, OtACE BUIUMNG                                                                         ARMED SERVICES
    TEUPHONE: 1202122~54                                                                               HOMELAND SECURITY
       FAX: (2021228-0526
     WWW.HAWLEY.SliNA11a.GOV                   tinitnl ~tatr.s ~rnatr                               AND GOVERNMENTAL AFFAIRS
                                                                                                         SMALL BUSINESS
                                                                                                      AND ENTREPRENEURSHIP
                                                   WASHINGTON, DC 20510-2509


                                                      April28,2022

The Honorable Alejandro Mayorkas
Secretary of Homeland Security
U.S. Department of Homeland Security
245 Murray Lane, S.W.
Washington D.C. 20528

Dear Secretary Mayorkas:

I write with deep concern about the Department of Homeland Security's decision to create a new
Disinformation Governance Board. I confess, I at frrst thought this announcement was satire. Surely no
American Administration would ever use the power of Government to sit in judgment on the First
Amendment speech of its own citizens. Sadly, I was mistaken. Rather than protecting our border or the
American homeland, you have chosen to make policing Americans' speech your priority. This new board
is almost certainly unconstitutional and should be dissolved immediately.

For well over a year, your Department bas consistently treated competing policy views as disinformation
to be monitored or investigated. However, political debates on issues such as immigration, pandemic
lockdowns, and foreign policy clearly constitute "core political speech" protected by the First
Amendment.• The Supreme Court has even gope so far as to say that "Under the First Amendment there
is no such thing as a false idea."2 The apparent broad mandate of this new government entity to "coordinate
countering misinformation" in America undermines the argument that it can even exist consistent with the
Constitution .3

Particularly troubling is your choice to lead the new board, Nina Jankowicz, a supposed "expert" with a
long history of partisan attacks. Consider:

      •     In 2020, she described President Trump's use of the national guard as "a sentence I expect to hear
            from leaders of authoritarian countries, not the President of the United States."4
      •     In 2021, she quoted with praise an article that said "homegrown fascism predated President Donald
            Trump."5
      •     She has said America is systemically racist.6
      •     In response to revelations about Hunter Biden' s laptop, she tweeted that "50 former natsec officials
            and 5 former CIA heads that believe the laptop is a Russian influence op. Trump says 'Russia,
            Russia, Russia.",..,


1 Meyer v. Grant,486 U.S. 414,422 (1988).
2 Gertz  v. Robert Welch, Inc., 418 U.S. 323,339 (1974).
3 https://www .po]jtico.com/newsletters/playbook/2022/04/27/fauci-puUs-out-of-whcd-js-biden-next-00028 l 31
4
  https://twitter.com/wiczipedia/status(l267589264440729600
5
  https://twitter.com/wjczipedia/status/1321 l 23630403694593
6
  https://twjtter.com/wiczjpedia/status/131 1t 23042387529734
7   https://twitter.com/wiczipedja/status/1319463138 l 07031553?s-20&t=EZYZWp.pGDhzWKhE5ensHnO
                                Release Authorized by Senator Grassley and Senator Hawley




Jankowicz has said the new DHS Board will "maintain the Dept's committment [sic] to protecting free
speech.''8 This is particularly ironic given Jankowicz's extensive criticism of free speech and the First
Amendment. Jankowicz bas claimed that "the 'free speech vs censorship' framing is a false dichotomy ."9
And when Elon Musk announced his acquisition of Twitter, she said "I shudder to think about if free
speech absolutists were taking over more platforms, what that would look like for the marginalized
communities ... which are already shouldering ... disproportionate amounts of this abuse." 10 Jankowicz
has even described opponents of social media speech codes as ''first amendment zealots." 11 These
statements that question the value of free speech are obviously disqualifying for such a role.

While Democrats have for years controlled the public square through their Big Tech allies, Mr. Musk's
acquisition of Twitter bas shown just how tenuous that control is. It can only be assumed that the sole
purpose of this new Disinformation Governance Board win be to marshal the power of the federal
government to censor conservative and dissenting speech. This is dangerous and un-American. The board
should be immediately dissolved.

So that Congress can consider remedial legislation, please provide the following responses prior to your
expected testimony before the Senate Homeland Security and Governmental Affairs Committee on May
4,2022:

      1. How will this Disinfoi:ination Board function? And who exactly will it be monitoring?
      2. What analysis did OHS conduct, if any, to ensure that the Disinformation Board and its activities
         comport with the First Amendment?
      3. Why did DHS time its announcement of this governance board directly after Mr. Musk's
         acquisition of Twitter?
      4. Who appointed Ms. Jankowicz to head the board as executive director? Were you aware of her
         history of partisan conduc~ prior to her appointment?
      5. Has OHS conferred with any private social media company in the creation or operation of this
         board?

                                               Sincerely,




                                               Josh Hawley
                                               United States Senator




8
    https://twitter .com/wiczipedja/status/151 9282822I581 I0721
11 https://twitter.com/Jack.Posobiec/status/15193978] 7260904454 ?s=20&t=ukuMjyeX 1tNiuHKa 1DmtGw
10 htfl)s://www .npr.org/2022/04/J 6/J 0932 I 2502/women-face-disproportionate-attacks-online-one-expert-shares-some-of-the-

details
11
   https://twjtter,com/wiczipedia/status/11928972523287 l 4240
                    Release Authorized by Senator Grassley and Senator Hawley

                       Department of Homeland Security Response to
                          Senator Hawley's April 27, 2022 Letter

1. How will this Disinformation Board function? And who exactly will it be monitoring?

For nearly 10 years, different agencies across DHS have worked to address disinformation that
threatens our homeland security. The Department is deeply committed to doing all of its work in
a way that protects Americans' freedom of speech, civil rights, civil liberties, and privacy. In
fact, the Disinformation Governance Board is an internal working group that was established
with the explicit goal of ensuring these protections are appropriately incorporated across DHS's
disinformation-related work and that rigorous safeguards of Americans' fundamental rights are
in place. The working group also seeks to coordinate the Department's engagements on this
subject with other federal agencies and a diverse range of external stakeholders. The working
group does not have any operational authority or capability.

The Department is focused on disinformation that threatens the security of the American people,
including disinformation spread by foreign states such as Russia, China, and Iran, or other
adversaries such as transnational criminal organizations and human smuggling organizations.
Such malicious actors often spread disinformation to exploit vulnerable individuals and the
American public, including during national emergencies.

DHS would be failing in its mission if it ignored disinformation that poses a threat to the
homeland. To that end, Components seek to address disinformation related to their authorized
missions. Some examples of that are as follows:
   • U.S. Customs and Border Protection (CBP) counters disinformation that cartels and
       human smugglers spread to migrants to persuade them to cross our southwest border
       illegally. CBP's work includes its "Say No to the Coyote" campaign, making clear that
       entering the United States illegally is a crime.
   • In 2012, during Hurricane Sandy, the Federal Emergency Management Agency (FEMA)
       corrected false information about the safety of drinking water and the location of shelters
       to protect and serve the hurricane's victims. FEMA has since built capacity to identify
       and respond to false information during major disaster responses, including Hurricanes
       Maria and Ida, during which FEMA provided critical information to protect disaster
       survivors from targeted scams. FEMA also ensures that disinformation campaigns do not
       prevent Americans from accessing federal aid during and after disasters.
   • The Cybersecurity and Infrastructure Security Agency (CISA) works with private sector
       stakeholders to mitigate the risk of disinformation to U.S. critical infrastructure, work
       that has continued in light of Russia's invasion of Ukraine.

The working group is co-chaired by the DHs· Office of Strategy, Policy, and Plans and Office of
the General Counsel, and includes other DHS leaders from CISA, FEMA, CBP, the Office for
Civil Rights and Civil Liberties, Office of Intelligence and Analysis, Science and Technology
Directorate, and Privacy Office.

2. What analysis did DBS conduct, if any, to ensure that the Disinformation Board and its
activities comport with the First Amendment?

The Department is deeply committed to doing all ofits work in a way that protects Americans'
freedom of speech, civil rights, civil liberties, and privacy. In fact, the Disinformation
                 Release Authorized by Senator Grassley and Senator Hawley

                       Department of Homeland Security Response to
                          Senator Hawley's April 27, 2022 Letter

Governance Board is an internal working group that was established with the explicit goal of
ensuring these protections are appropriately incorporated across DHS's disinformation-related
work and that rigorous safeguards of Americans' fundamental rights are in place.

It is co-chaired by the DRS Office of Strategy, Policy, and Plans and the Office of the General
Counsel, and its membership includes departmental leaders from other DRS components,
including those from the Office for Civil Rights and Civil Liberties and the Office of Privacy.
The Office for Civil Rights and Civil Liberties and Privacy Officer were consulted prior to the
establishment of the Board and through the development and publication of its charter.

Secretary Mayorkas will request that the bipartisan Homeland Security Advisory Council
(HSAC) make recommendations for how the Department can most effectively and appropriately
address disinformation that poses a threat to the homeland, while protecting free speech and
other fundamental rights, and that HSAC Co-Chair Jamie Gorelick and HSAC Member Michael
Chertofflead this effort. Ms. Gorelick is a former U.S. Deputy Attorney General and Mr.
Chertoffwas Secretary of Homeland Security during President George W. Bush's
Administration. At Secretary Mayorkas's request, DRS is exploring additional ways to enhance
the public's trust in this important work.

3. Why did DHS time its announcement of this governance board directly after Mr. Musk's
acquisition of Twitter?

The timing of the announcement was not related to any such external events. The Board's
Charter was signed in February 2022.

4. Who appointed Ms. Jankowicz to head the board as executive director? Were you aware
of her history of partisan conduct prior to her appointment?

Nina Jankowicz was chosen for her eminent qualifications and leadership in the field of online
disinformation and malign foreign influence. She is a widely acknowledged expert on online
disinformation who has testified multiple times before Congress as well as the UK and European
Parliaments. From 2016-2017, under the auspices of the Fulbright program, Ms. Jankowicz
served as an adviser to the Ukrainian Foreign Ministry. She worked closely with our Ukrainian
allies to combat Russian disinformation meant to destabilize the Ukraini~ government and
jeopardize its international partnerships. Most recently, she was a Disinformation Fellow at the
non-partisan Wilson Center.

5. Has DHS conferred with any private social media company in the creation or operation
of this board?

The Board is an internal working group that does not have operational capacity. The creation of
the Board was not discussed with any external entities prior to the public announcement.
                     Release Authorized by Senator Grassley and Senator Hawley




                                                                     (Original Signature of Member)




  11 7TH CONGRESS
      2D SESSION




                                   H.R.
        To direct the Cybersecurity and Infrastructure Security Agency of the
            Department of Homeland Security to identify, track, and share with
            homeland security stakeholders and the public information regarding
            misinformation, disinformation, and malinformation with national or
            homeland security implications, and for oth~r purposes.


                    IN THE HOUSE OF REPRESENTATIVES
 Ms. CLARKE of New York introduced the following bill; which was referred to the Committee on




                                      ABILL
       To direct the Cybersecurity and Infrastructure Security Agency of the
           Department of Homeland Security to identify, track, and share with
           homeland security stakeholders and the public information regarding
           misinformation, disinformation, and malinformation with national or
           homeland security implications, and for other purposes.

   Be it enacted by the Senate and House ofRepresentatives of the United States
ofAmerica in Congress assembled,

        SECTION 1. SHORT TITLE.

    This Act may be cited as the "Strengthening Resilience Against
Disinformation Act of 2022".
           Release Authorized by Senator Grassley and Senator Hawley




      SEC. 2. DEFINITIONS OF MDM IN THE HOMELAND SECURITY ACT OF
         2002.

    Section 2201 of the Homeland Security of2002 (6 U.S.C. 652) is amended-

               (!) by redesignating paragraphs (4), (5), and (6) as paragraphs (7),
          (8), and (9), respectively; and

              (2) by inserting after paragraph (3) the following new paragraphs:

               "(4) DISINFORMATION.-The term 'disinformation' means
          false information that is deliberately created to mislead, harm, or
          manipulate a person, social group, organization, or country.

              "(5) MALINFORMATION.-The term 'malinformation' means
          information that is based on fact, but used out of context to mislead,
          harm, or manipulate.

              "(6) MISINFORMATION.-The term 'misinformation' means
          information that is false, but not created or shared with the intention of
          causing harm.".

      SEC. 3. RESPONSIBILITIES OF THE CISA DIRECTOR RELATING TO
         MISINFORMATION, DISINFORMATION, AND MALINFORMATION.

    (a) IN GENERAL.-Subsection (c) of section 2202 of the Homeland Security
Act of2002 (6 U.S.C. 652) is amended-

              (!) in paragraph (13), by striking "and" after the semicolon;

              (2) by redesignating paragraph (14) as paragraph (15); and

              (3) by inserting after paragraph (13) the following new paragraph:

              "( 14) carry out activities to identify, track, and share with
          homeland security stakeholders and the public information regarding
          misinformation, disinformation, and malinformation, including by
          carrying out sections 2209(c)(13) and 2220D; and".

    (b) NATIONAL CYBERSECURITY AND COMMUNICATIONS INTEGRATION CENTER.
Subsection (c) of section 2209 of the Homeland Security Act of2002 (6 U.S.C.
659) is amended-
                Release Authorized by Senator Grassley and Senator Hawley



                (1) in subparagraph (11 ), by striking "and" after the semicolon;

                (2) in paragraph (12), by striking the period at the end and inserting
           "· and"· and
            '       '
                (3) by adding at the end the following new paragraph:

                "(13) maintaining capabilities to identify, track, and share with
           homeland security stakeholders and the public information regarding
           misinformation, disinformation, and malinformation that, either
           individually or in the aggregate, is likely to result in demonstrable harm
           to the national security interests bf the United States, including
           undermining public confidence in democratic institutions or election
           integrity, or to homeland security, economic security, civil liberties,
           public health, emergency response, or public safety, or any combination
           thereof, for the purpose of enhancing the collective response to such
           misinformation, disinformation, and malinformation, including
           strengthening national security and promoting_ strong media literacy and
           digital resilience, including by carrying out activities in section
           2220D.".

       SEC. 4. RUMOR CONTROL PROGRAM OF THE DEPARTMENT OF
          HOMELAND SECURITY TO COUNTER MISINFORMATION,
          DISINFORMATION, AND MALINFORMATION.

     (a) IN GENERAL.-Subtitle A of title XXII of the Homeland Security Act of
2002 (6 U.S.C. 651 et seq.) is amended by adding at the end the following new
section:

       "SEC. 2220D. RUMOR CONTROL PROGRAM TO COUNTER
          MISINFORMATION, DISINFORMATION, AND MALINFORMATION.

    "(a) ESTABLISHMENT.-There is within the center authorized pursuant to
section 2209 a public-facing website, known as 'Rumor Control', to carry out
sections 2202(c)(l4) and 2209(c)(13).

    "(b) FuNcnoNs.-In administering the Rumor Control website, the Director
shall establish partnerships with relevant public and private sector stakeholders,
including the following:
                       Release Authorized by Senator Grassley and Senator Hawley




                  "(1) Technology companies that own or operate internet-enabled
             communications platforms commonly used to spread misinformation,
             disinformation, or malinformation.

                 "(2) Non-governmental and civil-society groups, including civil
             rights and civil liberties organizations, with relevant subject matter
             expertise or stakeholder relationships, to identify and respond to
             misinformation, disinformation, and malinformation, and ensure such
             response is designed to effectively reach and raise awareness among
             communities or demographics targeted by such content.

                   "(3) State, Local, Tribal, and territorial governmental agencies.

                "(4) Relevant Federal agencies, including Sector Risk Management
             Agencies, as appropriate.

     "(c) INFORMATION PROTECTIONS.-If in the course of carrying out this section
personally identifiable information is received by the Agency, the Director shall
ensure such information is protected from unauthorized use or disclosure in a
manner consistent with the protection of personal information under the
Cybersecurity and Information Sharing Act of 2015 (enacted as tit:le I of division N
of the Consolidated Appropriations Act, 2016 (Public Law 114--113)).".

     (b) CLERICALAMENDMENT.-The table of contents in section l(b) ofthe
Homeland Security Act of 2002 is amended by inserting after the item relating to
section 2220C the following new item:

"Sec. 2220D. Rumor control program to counter misinformation, disinformation, and malinformation.".

        SEC. 5. REPORT.

    Not later than 180 days after the date of the enactment of this Act, and not later
than 60 days after each regularly-scheduled general election for Federal office, the
Director of the Cybersecurity and Infrastructure Security Agency of the
Department of Homeland Security shall submit to the Committee on Homeland
Security of the House of Representatives and the Committee on Homeland
Security and Governmental Affairs of the Senate a report describing actions taken
by the Director in furtherance of sections 2202(c)(l4), 2209(c)(l3), and 2220D of
the Homeland Security Act of 2002, as amended and added by this Act, including
                Release Authorized by Senator Grassley and Senator Hawley



specific details regarding the Agency's activities pursuant to subsection (b )(2) of
such section 2220D, for the four-year period preceding each such election.
